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CASE NO. 1203@\/0439 jj:_ze_ 2

HON. David W. McKeague

Plaintiffs,
v

ADELE MCGINN-LOOMIS and MARY
BENEDICT,

Defendants.

 

PLAINTIFFS’ AMENDMENT TO THEIR MOTION TO COMPEL THE DEPOSITIONS
OF JUDGE PATRICIA GARDNER, BARBARA INGRAM AND BEVERLY
FOUNTAIN TO INCLUDE JUDGE PATRICK HILLARY

On January 23, 2004, the attorney for Judge Gardner and her staff sent the letter
attached as Exhibit 1 to plaintiffs’ counsel stating that he also represents Judge Patrick Hillary, who
apparently also spoke to both defendants during the evening hours of September 19, 2001. In this
letter, Judge Hillary’s attorney states that Judge Hillary is taking the same position as Judge Gardner
and her staff with respect to a deposition subpoena issued to him. Accordingly, plaintiffs amend
their pending motion to compel to include a request that this Court also enter an Order compelling
Judge Hillary to submit to deposition. The relief sought in this amendment is supported by plaintiffs’
brief in support of their motion to compel the depositions of Judge Gardner and her staff, except that
it is undisputed that Judge Hillary has never presided over any proceeding involving plaintiffs.

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Att s for Plaintiffs
Dated: Januarg, 2004 By l . (7<i 1

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